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15
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17                              UNITED STATES DISTRICT COURT

18                             NORTHERN DISTRICT OF CALIFORNIA

19                                 SAN FRANCISCO DIVISION

20 WISK AERO LLC,                                 Case No. 3:21-cv-02450-WHO

21                Plaintiff,                      STIPULATION AND [PROPOSED]
                                                  ORDER MODIFYING DEADLINE FOR
22
           vs.                                    FILING OF JOINT CHART REGARDING
23                                                SEALING REQUESTS
     ARCHER AVIATION INC.,
24
                  Defendant.
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                                                                        Case No. 3:21-cv-02450-WHO
                                  STIPULATION AND [PROPOSED] ORDER
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 1          Plaintiff Wisk Aero LLC and Defendant Archer Aviation Inc. submit the following

 2 Stipulation and [Proposed] Order.

 3          WHEREAS, on June 8, 2023, the Court ordered the parties “to meet and confer to prepare

 4 a joint chart” relating to the pending sealing motions that accompanied the parties’ filing of summary

 5 judgment and Daubert motions (Dkt. 578 at 3);

 6          WHEREAS, the Court ordered the parties to file the joint chart “within 20 days of the date

 7 of this Order,” i.e., by June 28, 2023 (id. at 4);

 8          WHEREAS, in its June 8, 2023 order, the Court observed that “parsing through each piece

 9 of information sought to be sealed is and identifying only the truly crucial information that must in

10 a party’s view be sealed is time intensive and expensive” (id. at 3);

11          WHEREAS, the parties have met and conferred in good faith and are collaborating to further

12 parse the under-seal information in the various filings to identify only the truly crucial information

13 for inclusion in the joint chart;

14          WHEREAS, to date, the parties have not identified any sealing disputes through this

15 process;

16          WHEREAS, the parties are also coordinating with relevant third parties whose discovery

17 material was filed under seal in connection with the parties’ summary judgment and Daubert filings

18 to aid them in limiting their sealing requests to only the truly crucial information;

19          WHEREAS, the parties are also devoting significant resources to preparing and exchanging

20 trial materials (e.g., deposition transcript designations, exhibit lists, etc.) pursuant to the deadlines

21 set forth in the Court’s Civil Pretrial Order (Dkt. 571);

22          WHEREAS, in light of the volume of confidential information filed with the summary

23 judgment and Daubert filings, the need to further coordinate with third parties, and the need to

24 simultaneously continue preparing and exchanging trial materials, the parties respectfully request

25 that the Court extend the deadline for the filing of the joint sealing chart from June 28, 2023 to

26 July 7, 2023.

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                                       STIPULATION AND [PROPOSED] ORDER
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 1         NOW, THEREFORE, IT IS HEREBY STIPULATED AND AGREED, SUBJECT TO

 2 THE COURT’S APPROVAL:

 3         The deadline by which the parties must file the joint chart described by the Court in its

 4 June 8, 2023 order is extended from June 28, 2023 to July 7, 2023.

 5

 6         IT IS SO STIPULATED, through Counsel of Record.

 7

 8                                      Respectfully submitted,

 9 Dated: June 21, 2023                 QUINN EMANUEL URQUHART & SULLIVAN, LLP

10
                                        By:                       /s/ Yury Kapgan_______________
11                                                                 Yury Kapgan
12                                                         Attorneys for Plaintiff Wisk Aero LLC

13                                      GIBSON DUNN & CRUTCHER LLP
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15                                      By:                    /s/ Diana M. Feinstein_______________
                                                                 Diana M. Feinstein
16                                                        Attorneys for Defendant Archer Aviation Inc.
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                                  STIPULATION AND [PROPOSED] ORDER
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 1 PURSUANT TO STIPULATION, IT IS SO ORDERED.

 2
     Dated: June 23, 2023
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                                           ______________________________________
 5
                                                    Hon. William H. Orrick III
 6                                                        District Judge
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                            STIPULATION AND [PROPOSED] ORDER
       Case 3:21-cv-02450-WHO Document 588 Filed 06/23/23 Page 5 of 5




 1                           Attestation Pursuant to Civil Local Rule 5-1(h)(3)

 2          I, Diana M. Feinstein, attest that concurrence in the filing of this document has been obtained

 3 from the other signatories. I declare under penalty of perjury under the laws of the United States of

 4 America that the foregoing is true and correct.

 5

 6 Dated: June 21, 2023                    GIBSON, DUNN & CRUTCHER LLP

 7
                                           By:             /s/ Diana M. Feinstein______________
 8                                                           Diana M. Feinstein
 9                                                Attorneys for Defendant Archer Aviation Inc.

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                                    STIPULATION AND [PROPOSED] ORDER
